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COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 






ANTHONY CORTINAS,	Appellant,


v.



THE STATE OF TEXAS,	Appellee.





On appeal from the 105th District Court 


of Nueces County, Texas.






MEMORANDUM OPINION


	

Before Chief Justice Valdez and Justices Rodriguez and Garza


Memorandum Opinion Per Curiam


	Appellant, Anthony Cortinas, attempts to appeal his conviction for aggravated sexual
assault of a child.  The trial court has certified that this "is a plea-bargain case, and the
defendant has NO right of appeal."  See Tex. R. App. P. 25.2(a)(2).

	On June 24, 2008, this Court notified appellant's counsel of the trial court's
certification and ordered counsel to: (1) review the record; (2) determine whether appellant
has a right to appeal; and (3) forward to this Court, by letter, counsel's findings as to
whether appellant has a right to appeal, or, alternatively, advise this Court as to the
existence of any amended certification.

	On July 31, 2008, counsel filed a letter brief with this Court.  Counsel's response
does not establish that the certification currently on file with this Court is incorrect or that
appellant otherwise has a right to appeal.  

	The Texas Rules of Appellate Procedure provide that an appeal must be dismissed
if the trial court's certification does not show that the defendant has the right of appeal. 
Tex. R. App. P. 25.2(d); see Tex. R. App. P. 37.1, 44.3, 44.4. Accordingly, this appeal is
DISMISSED.  Any pending motions are denied as moot.


							PER CURIAM

Do not publish.  

See Tex. R. App. P. 47.2(b).  

Memorandum Opinion delivered 

and filed this the 21st day of August, 2008. 





	


